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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT

 

OF TENNESSEE
WESTERN I}IVISION
CHARLESTON SHIPP
PLAINTIFF
vs. NO:

 

VISIONS SPORTS BAR 8: GRILL, INC., `
MARIA LOPEZ, MIKE FURFIK,
TI~IE CITY OF MEIVIPHIS, TENNESSEE,
JIIVIIVIY HUDSON, ALKI KING,
NOEL JACKSON, and JULIAN

DEFENDANTS

 

COIV.[PLAINT FOR I)AMAGES
JURY DEIVIANDED

 

COIVIES NOW THE PLAINTIFF, CHARLESTON SHIPP, by and through
the undersigned counsel files this luis Cornplaint for damages pursuant to the
Racketeer Infiuenced and Corrupt Organizations Act, 18 USC § 1961-19641, et
Seq. (“RICO”), Governmental Tort liability Act, Tsnn. Codo. Ann § 29»20~101, et
Seq. {"GTLA"), common-law negligence, and assault against Visions Bar and
Grili, Inc. Maria Lopez, l\/Iiko l\/qufik, the City of Mornphis, Tonnessee, Jimmy

Hudson, Alki King, No@l .Jac`kson, and Juiian, and in support thereof states as

foilovvs:

 

1 'i"hi$ Colu't has Slibject matterjurisdiction pur$uani. to 28 USC § 1331 (i"~`edcra:f Qu€stion) and venue is
proper in this iiisiric! as the Dcfczidants z\ii reside or arc deemch to reside in this district pursuant to 28 USC

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1. 'l‘he Plaintiff, Cliarleston Shipp is an adult resident citizen of
"l`ennessee.

2. The Defendant, Visions Sports Bar and Griil, lnc. (“Visions") is a
corporation organized and existing under the laws of the State of ‘“i`ennessee
with its principal place of business located at 3684 Ridgeway l\/lernphis,
Tennessee 381i5. Visions may be served with process by service by certified
mail to an officer, director, or managing agent at its principal place of business
or any other method authorized by Rule 4 of the Federal Rules of Civil
Procedure. Visions is vicariously liabie for the actions or omissions of the its
security detail, l\./iaria Lopez, and l\/like Muriik while in the course and scope of
their employment or agency via the doctrine of respondeat superior, actual or
apparent agent-principal and employee-employer

3. rl`he Defendant, l\/laria Lopez is an adult resident citizen of
i\flernphis, Sheiby County, Tennessee who may lie served with process at her
business address of 3684 Ridgeway l\fiernphis, Tennessee 38115 or her
residence address of 4389 Whispering Bend l\/lemphis, Tennessee 381.25.

4. 'l.”he Defendant, Milre Murfil< is an adult resident citizen of
Mersphis, Shelby County, Tennessee who may he served with process at his
business address of 3684 Ridgeway Mernphis, Tennessee 38115 or his
residence address of 4389 Whispering Bend l\/lernphis, Tennessee 38125.

l\/,[urr'ik and lsopez are believed to be the shareholders and owners of Visions.

 

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(Murfik and Lopez collectively referred to as “Owner or Owners").

5. The Defendant, City of Memphis, 'i‘ennessee (“l\/lemphis") is a
municipal corporation organized and existing under the laws of the State of
Tennessee with it principal place of business at 126 North Main Street
Memphis, 'l`ennessee 38103. l\/lemphis may be served with process by service
on its City Attorney Herrnan Morris (Roorn 336) at its principal place of
business or by any other method authorized by the Rule 4 of the Federal Rules
or Civil Procedure. Meinphis is vicariously liable for the actions or omissions
of Officers Cliristopher Crawiord, Michael Young and Lieutenant Timothy
Green while in the course and scope of their employment or agency via the
doctrine of respondeat superior, actual or apparent agent»principal, and
employee-employer pursuant to the GTLA. Memphis is directly liable for
negligently failing to hire, retain, superviser or retain Crawford, Young, or
Green pursuant to the GTLA.

6. ‘l‘he Defendant, Jimrny l~ludson is an adult resident citizen of the
Shelby County, Tennessee and may be served with process at his residence
address

'7. The Defendant, Aliri King, is an adult resident citizen of the
Shelby County, Tennessee and may be served with process at his residence

address

8. The Deiendant, Noel Jackson is an adult resident citizen of the

Shelby County, rl‘ennessee and may be served with process at his residence

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address

9. The Defendant, Julian (last name unknown) is an adult resident
citizen of Shelby County, Tennessee and may be served with process at his
residence address (The Defendants Hudson, King, Jaclison, and Julian
collectively referred to hereinafter as “Perpetrators”)

RICO C.iaim

lO. On or about October 2, 2009, Officer Christopher Crawford and
Officer l\/lichael Young of the City of Memphis, Police department were present
at a briefing wherein they learned that the Memphis Police Departrnent’s
Organized Crime Unit would conduct undercover operations at Visions during
that weekend

11. On or about October 3, 2009, Crawford alerted agents of Visions
Of the Organized Crime Unit's intentions Crawford received a cash payments
from agents of Visions in exchange for this information while he was on duty
and in uniform on the premises of Visions that same day. This conduct
violated 18 USC § lQBl(a).

12. On or about October 3, 2009, Young alerted agents of Visions
of the Organized Crime Unit’s intentions On October 4, 2009, Young also
received a cash payments from agents of Visions in exchange for this
information while he was on duty and in uniform on the premises of Visions.

`l`his conduct violated 18 USC § lQBl(a).

13. On or about October 191 2009, Lieutenant ‘I‘imcthy Green while

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in uniform and on duty approached the Owner or Owners and other agents
about thwarting the Police Departrnent’s plans to shut Visions down Green
received a cash payment from Owner or Owners in exchange to entering into
this conspiracy with Owner. Lieutenant Green was the midnight shift
supervisor over the station that covers Visions and in charge of a special detail
formed to gather evidence to shut Visions down This conduct violated 18 USC
§ iQSl(a) and constituted a conspiracy between the Owner and Green in
violation of 18 USC § iQSZ(d).

14. On or about January 10, 2910, and in furtherance of the
conspiracy to violate §l§'c`)'l(a), Owner or Owners and Green meet in office
Visions and Green offered to provide the “right guys" at Visions that weekend
and demanded that the Owner or C)Wners ceasing paying Crawford and
Young and paid hint Green was on duty and in uniform.

15. On or about January 11, 2010, and in furtherance of the
conspiracy to violate §i%i(a), Owner or Owners paid Green cash payments on
the premises of Visions in satisfaction of Green’s offer and demands of
January iO, 2010. This conduct violated 18 USC § lQEl(a) and 18 USC § 1962,

RICO En terprise

18. The RICO Enterprise is an association-in-fact enterprise
composed of Visions, Timothy Green, Christoper Crawford, i\/iichael Young,
l\/laria Lopez, Mike Murfik, (“collectively RICO operators), and Interbay

ii‘unding, LLC, 1301 Virginia l)rive Ste 403 Fort Washington, PA 19034,

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Bayview Loan Servicing LLC, 4425 Ponce De Leon Blvd 5‘“ Florida Coral
Gabies, Florida 33148 (Owner’s Lenders and on information and belief banks),
First Tennessee, 185 Madison Avenue Memphis, Tennessee 38103 (on
information and belief Memphis' bank), and their other banks accountants
and attorneys The RICO operators direct and control the RICO Enterprise.
The RICO operators have conducted a pattern of racketeering activity over the
course of this matter as discussed in the foregoing paragraphs
17. The actions of the RICO Operators described above were direct
Proximate cause of damages to the Plaintiff’s property in the form of cover
charges and expenses
Negligence & Assault C'lairns

18. Piaintiff incorporates the foregoing paragraphs as if fully set forth
herein Prior to January 16, 2010, iaw enforcement including City of J_Viernphis
Police were called to Visions for shootings stabbings, fights, and drug activity
on many occasions

19. On or about January 16, 201{), the Perpetrators stabbed Plaintiff on
the premises of Visions. The security detail while in the course and scope of
their employment or agency with Visions were on actual or constructive notice
of prior altercations between the Perpetrators and Plaintiff and his companions
on previous Weekends and twice that night and negligently failed to remove
the Perpetrators from the premises prior to Perpetrators stabbing Plaintiff.

The security detail’s failure to remove the Perpetrators from the premises prior

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to the altercation escalating into the Perpetrators stabbing Plaintiff constituted
negligence and a proximate cause of the Plaintiff’s injuries and damages
Visions is vicariously liable for the security details negligence in failing to
remove either Perpetrators or Plaintiff and his companions from the premises
Defendants, Visions, Lopez, and l\/iurfik are directly negligent in hiring,
retaining, and retaining the security detaill 'I'he Perpetrators actions in
stabbing Piaintiff constitute assault and battery against the Plaintiff.
Pier'ci'nig the Corporate Veil

20. Plaintiff incorporates the allegations of the foregoing paragraphs as
if fully set forth herein At all material times, Owner or Owners utilized Visions
as a subterfuge to violate § 1951(a) and in furtherance of a Corispiracy to violate
§ iQSl(a). At all material times, Owner or Owners used Visions as a
instrumentality or business conduit for themselves and did not maintain an
arms length relationship between themselves and Vision. In the event
Visions proves to be undercapitalized then Defendants Lopez and l\/iurfik
should be held individually liable for the liabilities of Visions.

G'I'LA Claims

Z'l. Plaintiff incorporates the foregoing paragraphs as if fully set forth
herein The actions or omissions of Green, Young, and Crawford, ali occurred
while they were in the course and scope of their employment with Mernphis.
Mernphis was negligent in training, hiring, retaining, and supervising Green,

Young, and Crawford. Mempi'iis’ negligence was a proximate cause of the

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injuries and damages to Piaintiff.

22. As direct and proximate result of the Defendants liability including
assault, negligence RIC‘O liability, and GTLA iiability, Plaintiff has incurred
past and future medical bills, past and future pain and suffering, past lost of
wages, loss of future earning capacity, scarring, mental anguish, loss of
enjoyment of life, loss of cover charges and other expenses attorney fees, and
all other damages to his person and property Contempiated by the jury.

WI~IEREFORE, PREMISES CONSIDERED, the Piaintiif, respectfully
requests that the Court render judgment in favor of the Plaintiff, Cliarleston
Shipp jointly and severally against Defendants Visions Bar & Griil, Inc., the City
of Memphis, Jiinrny Hudson, Alki King, Noel Jackson, and Julian in the amount
of TWC) MILLION DOLLARS ($2,000,000.00) to be determined by a jury of his
peers to include compensatory damages and attorney fees and expenses
treble damages, and punitive damages and costs pursuant to 18 USC § 1964

Respectfully submitted
/s/DRAYTON D. BEP\KLEY
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